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                         IN THE UNITED STATES DISTRICT COURT
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                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                  SAN FRANCISCO DIVISION
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     NATIONAL TPS ALLIANCE, et al. ,                  Case No. 3:25-cv-1766-EMC
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                                          Plaintiffs, [PROPOSED] ORDER GRANTING
15                                                    MOTION FOR LEAVE TO FILE BRIEF
                   v.                                 OF AMICI CURIAE IN SUPPORT OF
16                                                    PLAINTIFFS’ MOTION TO POSTPONE
                                                      EFFECTIVE DATE OF AGENCY
17   KRISTI NOEM, in her official capacity as         ACTION
     Secretary of Homeland Security, et al.,
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                                    Defendants.
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                    [PROPOSED] ORDER GRANTING LEAVE TO FILE BRIEF OF AMICI CURIAE
                                    CASE NO. 3:25-CV-01766-EMC
     Case 3:25-cv-01766-EMC            Document 65        Filed 03/07/25     Page 2 of 2



 1                                          [PROPOSED] ORDER
 2          Upon consideration of the Unopposed Motion for Leave to File Brief of Amici Curiae in
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     Support of Plaintiffs’ Motion to Postpone Effective Date of Agency Action, it is hereby
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     ORDERED that this Motion for Leave be and hereby is GRANTED, and that the brief submitted
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     as Exhibit 1 to the motion be filed.
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 7   IT IS SO ORDERED.

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 9           March 7, 2025
     Dated: ___________________________                    __________________________
                                                           The Honorable Edward M. Chen
10                                                         United States District Court Judge
                                                           Northern District of California
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                         [PROPOSED] ORDER GRANTING LEAVE TO FILE BRIEF OF AMICI CURIAE
                                         CASE NO. 3:25-CV-01766-EMC
